Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 1 of 28

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

 

UNITED STATES OF AMERICA
ex rel. [UNDER SEAL]

 

PLAINTIFF

Civil Action 4:04CV00985 gh’ .

FILED UNDER SEAL

VS.

[UNDER SEAL]

DEFENDANTS

 

COMPLAINT IN INTERVENTION OF THE UNITED STATES

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 2 of 28

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS

 

LITTLE ROCK DIVISION
)
THE UNITED STATES OF AMERICA, ex ref. NORMAN)
RILLE and NEAL ROBERTS, )
Plaintiff, } iis
vs. } Case No. 4-04 CV0000985GH
)
) FILED UNDER SEAL
)
) COMPLAINT IN
) INTERVENTION OF THE
ACCENTURE LLP, an Ilinois limited liability ) UNITED STATES
partnership; ACCENTURE LTD., a Bermuda Corporation; )
and PROQUIRE, LLC, a Delaware Corporation, ~  ) False Claims Act,

Defendants. 31 U.S.C. § 3729, et seg, 41
ULS.C. §§ 31-58 and Common
Law Causes of Action

 

JURY TRIAL DEMANDED

The United States of America, by its undersigned attorneys, having intervened in this
action, brings this civil action against Accenture, LLP, Accenture, Ltd and Proquire for treble
damages and civil penalties under the False Claims Act, 31 U.S.C. §§ 3729-3733, the Anti-
Kickback Act, 41 U.S.C. §§ 51-58, and under common law theories of unjust enrichment, breach
of contract, and payment under mistake of fact, and alleges as follows:

I. Introduction
1. Over the last 10 years, the United States Government, along with its departments,

establishments, subdivisions, prime contractors and management and operating contractors (“the

United States Government” or “Government”’), has contracted for the design, development,

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 3 of 28

manufacture and implementation of all kinds and types of information technology systems (IT
Systems). These IT Systems include substantial quantities of computer hardware, software and
maintenance. In seeking to acquire and implement these IT Systems, the United States
Government enters into contracts with consulting service companies, which purport to be skilled
in developing, manufacturing, designing and/or converting and integrating Government IT
Systems. These consulting companies are known as Systems Integration Consultants (“Systems
Integration Consultants” or “SI Consultants” ). Such efforts for the development, manufacture
and/or conversion and implementation of these IT Systems also requires the Government to
procure substantial technology hardware, software, maintenance and technical services, directly
and indirectly, from various technology companies (“Technology Vendors”) resulting in the
Government’s further expenditure of millions of dollars.

2. The Government contracts with these Technology Vendors directly for purchases
of hardware and software, and also indirectly through prime contracts with Systems Integration
Consultants. Government spending on information technology services and products alone
constitutes many millions of dollars annually since 1998, Technology Vendors send thousands
of solicited and unsolicited proposals to the Government yearly, seeking to capture some of these
Government dollars. The Systems Integration Consultants, who are entrusted and retained to act
as the Government’s independent third party objective advisors, are supposed to assist the
Government in answering numerous questions about the appropriate technology solutions,
including the vendor, cost, quantity, type and purchasing methods that are most advantageous to

the Government associated with the required hardware, software, and systems and maintenance.

3. Over the past 10 years, the Government has entered into such SI Consultant

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 4 of 28

contracts with Defendant Accenture, LLP and its purchasing subsidiary, Proquire, LLC. These
contracts and/ or the applicable federal regulations contain express provisions regarding Federal
Acquisition Regulation prohibitions against Kickbacks (41 U.S.C. §51 et seq, and 48 C.F.R.
3.502, ef seq.); Contingency Fees (48 C.F.R. 3.400), Payments to Influence Certain Federal
Officials (48 C.F.R. 3.8 }, Organizational Conflicts of Interest (48 C.F.R. 9.500 et seq. },
Teaming Agreement (48 C.F.R. 9.6), as well as various other Federal Acquisition Regulations
(“FARs”). These prohibitions serve to assure that the Government obtains the products and
services that it needs at the best prices through unbiased and untainted advice and truthful
representations from Accenture and its purchasing subsidiary, Proquire.

4. During this same period of time, Defendants Accenture, LLP and Proquire, LLC

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established relationships, known as “teams,” “strategic alliances,” “‘alliance teams,” “alliance
partnerships” or “‘alJliances” (collectively hereinafter referred to as “Alliance(s)”), with other SI
Consultants, hardware vendors and software vendors.

5, The United States alleges that since October 1998 and continuing up to the
present (the “Relevant Time Period’), Defendants have exploited the trust the Government has
reposed in them to act with honesty and candor; to provide accurate, complete and current cost
and/or pricing data; to act without conflicts of interest; and to serve as independent third party
objective advisors. The Defendants’ focus on profits and Alliance Partner revenue, rather than
the interest of their Government clients, has destroyed their independence and eliminated fair

competition in the Government procurement process. Asa result, millions of dollars of

Kickbacks were sought, received, offered and paid between and among the Defendants with their

Alliances in violation of the False Claims Act and other federal statutes and regulations. In

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 5 of 28

furtherance of this scheme, Defendants expressly or impliedly represented or certified to the

Government that they complied with various Anti-Kickback statutes, FARs, Truth in

Negotiations Act (TINA)( 10 U.S.C. §2036a and 41 U.S.C. §254b), and organizational conflict

of interest laws, when, in fact, they had not, and do not, comply with such laws and regulations.

Again, this resulted in the making of false statements and false claims in violation of the False

Claims Act to the Government in connection with Defendants’ contracts and/or subcontracts.
IJ. Jurisdiction and Venue

6. This is an action by the United States against defendant Accenture, LLP,
Accenture, Ltd and Proquire, LLC pursuant to the False Claims Act, 31 U.S.C. § 3729 et seq.
(“FCA”), and the Anti-Kickback Act, 41 U.S.C. §§ 51-58 (AKA), and at common law.

7. The Court has jurisdiction over this matter pursuant to 31 U.S.C. §§ 3729-3732,
and 28 U.S.C. §§ 1331, 1345, and 1355, and its general common law and equitable jurisdiction.

g. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1395, and 31
U.S.C. § 3732.

Ill. Parties

9. The plaintiff is the United States of America.

10. Defendant Accenture Ltd, is a Bermuda corporation doing business in the State of
Arkansas, and more particularly within the geographical limits of the United States District
Court, Eastern District of Arkansas. During the Relevant Time Period, Accenture, Ltd., its
predecessors, and successors (directly or through subsidiaries, affiliates or assigns), have

established Alliances and/or Affiliate relationships for the purpose of consummating sales to the

United States Government in various capacities, including but not limited to, as SI Consultants

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 6 of 28

for the United States Government.

11, Accenture, LLP, is an Illimois limited liability partnership headquartered in
Chicago, Illinois, wholly owned by Accenture, Ltd., and doing business in the State of Arkansas,
and more particularly within the geographical limits of the United States District Court, Eastern
District of Arkansas. During the Relevant Time Period, Accenture, LLP, its predecessors, and
successors (directly or through subsidiaries, affiliates or assigns), have established Alliances for
the purpose of consummating sales to the United States Government in various capacities,
including but not limited to, as SI Consultants for the United States Government.

12. Proquire, LLC (“Proquire”), is a Delaware limited liability corporation, wholly
owned by Accenture LLP and Accenture Ltd., doing business in the State of Arkansas, and more
particularly within the geographical limits of the United States District Court, Eastern District of
Arkansas. During the Relevant Time Period, Proquire was acting on behalf of Accenture, LLP
to enter into Alliance Agreements with Technology Vendors and resell technology products and
services to the United States Government. Accenture, LLP used Proquire to retain the
Kickbacks, and/or used Proquire to funnel the Kickbacks back to Accenture, LLP. Defendants
Accenture, Ltd., Accenture, LLP, and Proquire, and their predecessors and successors,
subsidiaries, affiliates or assigns, shall be referred to hereafter collectively as “Accenture.”

13. The False Claims Act, 31 U.S.C. § 3730(b) provides that private persons may file
an action pursuant to 31 U.S.C. §§ 3729 et seq. for the private person and the United States
against a person violating the Act. The private person initiating such an action is called a

“relator.”

14, Relator Norman Rille is a citizen and resident of the State of California. Mr. Rille

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 7 of 28

filed this action pursuant to the qui tam provisions of the False Claims Act, 31 U.S.C. § 3730(b)
on or about September 17, 2004. On December 13, 2006, the United States intervened in Mr.
Rille’s action.

15. Relator Neal A. Roberts is a citizen and resident of the State of California. Mr.
Roberts filed this action pursuant to the gui tam provisions of the False Claims Act, 31 U.S.C. §
3730(b) on or about September 17, 2004. On December 13, 2006, the United States intervened
in Mr. Roberts’ action.

16, Relators have previously made a voluntary disclosure of the wrongdoing referred
to herein to the United States Government pursuant to 31 U.S.C. § 3730(e)(4)(B). Relators’
Complaint, filed on or about September 17, 2004, made detailed allegations regarding the
Relators’ direct and independent knowledge of Defendants’ wrongdoing alleged herein, which
comprises their original source allegations.

IV. Facets Alleged
Accenture’s Alliances

17. | The United States alleges that during the Relevant Time Period, Accenture
established Alliances, in whole or in part, for the purpose of consummating sales of IT Systems,
services and products to the United States Government. Some of the major Technology Vendors
whose products were sold to the United States Government include, without limitation: Acxiom
Corporation (“Acxiom”), Avanade, Inc, (‘Avanade”), Cisco Systems, Inc. (“Cisco”), Commerce
One, Compaq Computer Corporation (“Compaq”), Dell Inc. (“Dell,”), EMC Corporation

(“EMC”), Hewlett-Packard Company (“HP”), International Business Machines, Inc. (“IBM”),

Informatica Corporation (“Informatica”), J.D. Edwards & Company (“J.D. Edwards”),

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 8 of 28

Manugistics Group, Inc. (““Manugistics”), Microsoft Corporation (“Microsoft”), NCR
Corporation (NCR), GTSI, E-Plus, Mercury Interactive (“Mercury”), Northrop Grumman and/or
Northrop Grumman IT, Computer Associates, CGI-AMS, Tech Data Corporation, CDW,
Webmethod, Vastera, Ingram Micro, ACSIS, World Wide Technology Inc, Oracle Corporation
(“Oracle”), PeopleSoft, Inc. (“PeopleSoft”), SAP Public Services (“SAP”), SeeBeyond, Siebel
Systems, Inc. (“Siebel”), Sun Microsystems, Inc. (“Sun”), Unisys Corporation (“Unisys”),
answerFriend, Asera, Inc. (“Asera’’), BEA Systems, Inc. (“BEA Systems”), Blue Martini
Software, Inc. (“Blue Martini”), Broadvision, Inc. (“Broadvision’”), Cognos, Incorporated
(“Cognos”), Jameracker, Inc. (“Jamcracker”), Kalido Ltd. (“Kalido’’), Kana Software, Inc.
(“Kana”), Plumtree Software, Inc. (“Plumtree”), SAS, Seisint, Inc. (“Seisint’’), Teradata, Top
Tier Software, Inc, (“Top Tier”} and Vignette Corporation (“Vignette”).

18. For more specific examples, Accenture maintained the following written Alliance
Agreements during the Relevant Time Period:

- “Marketing Alliance Agreement” with Authoria dated 08/29/01;

- “Business Development Partner Agreement” with HP dated 06/03;

- “Systems Integrator Agreement” with HP dated 03/28/04;

- “Master Reseller Agreement” with NCR dated 04/16/01;

- “General Terms and iForce Business Agreement” with Sun dated
06/20/03;

- “Joint Marketing and Alliance Agreement” with Oracle dated 07/01/05;

- “Master Alliance Agreement” with SeeBeyond dated 01/05/00;

- “Warrant Purchase Agreement” with Software Technologies Corporation
(.e., SeeBeyond) dated 11/16/99,

- “Integrator Reseller Agreement” with EMC ({i.e., Accenture) and Proquire
dated 12/01/97;

- “Teaming Agreement” with EMC dated 09/18/01;

- “Alhance Agreement” with NCR dated 04/13/01;

- “Joint Marketing and Alliance Agreement” with Acxiom dated 11/17/03;

- “Master Infrastructure Hosting Services Agreement” with Acxiom dated
07/01/04;

- “Alliance and Joint Marketing Agreement” with SAP;

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 9 of 28

- “Teaming Agreement” with SAP dated 02/10/06;

- “Business Partner Agreement” with IBM dated 07/01;

- “Worldwide IBM Global Software Initiative Agreement” with IBM dated
01/01/01;

- “Master Alliance Agreement” with Callidus dated 08/1 1/04;

- “Teaming Agreement” with ClickSoftware dated 09/01/05;

- “Preferred Relationship Agreement” with Convergsys dated 12/10/04;

- ‘Marketing Agreement” with Everypath dated 08/28/00;

- “Consulting Services and Marketing Agreement” with Epylon.com Corp,
dated 06/1 6/00;

- “Consulting SI Agreement” with FileNet dated 03/01/94;

- “Alliance Agreement” with Genesys Telecomm dated 06/13/05.

Accenture’s Government Contracts
19, During the relevant time period, Accenture also entered into contracts with the
United States Government, the terms of which, and/or by virtue of law or regulation required
them to comply with the False Clans Act, Anti-Kickback Act, TINA, organizational conflict of
interest laws and other federal acquisition regulations. Those laws and regulations provide as
follows:

a. The False Claims Act. The False Claims Act provides that:
(a) Any person who—

(1} knowingly presents, or causes to be presented, to an officer or
employee of the United States Government or a member of the
Ammed Forces of the United States a false or fraudulent claim for
payment or approval;

(2) knowingly makes, uses, or causes to be made or used, a false
record or statement to get a false or fraudulent claim paid or
approved by the Government;

(3) conspires to defraud the Government by getting a false or
fraudulent claim paid or approved by the Government; [or]

Ok OK

is liable to the United States Government for a civil penalty of not
less than [$5,500] and not more than [$11,000], plus 3 times the

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 10 of 28

amount of damages which the Government sustains because of the
act of that person....

(b) Knowing and knowingly defined. For purposes of this section,
the terms “knowing” and “knowingly” mean that a person, with
respect to information --

(1) has actual knowledge of the information;

(2) acts in deliberate ignorance of the truth or falsity of the
information; or

(3) acts in reckless disregard of the truth or falsity of the
information, and no proof of specific intent to defraud is required.

b. The Anti-Kickback Act. The Anti-Kickback Act of 1986, 41 U.S.C. §52(2)(A),
imposes liability on any person who makes a payment to any other person involved in the federal
procurement process for the purpose of obtaining favorable treatment. The AKA defines the
term “kickback” as follows:

(2) The term “kickback” means any money, fee,
commission, credit, gift, gratuity, thing of value, or
compensation of any kind which is provided, directly or
indirectly, to any prime contractor, prime contractor
employee, subcontractor, or subcontractor employee for the
purpose of improperly obtaining or rewarding favorable
treatment in connection with a prime contract or in
connection with a subcontract relating to a prime contract.

The AKA, 41 U.S.C. §53, further provides that “[i]t is prohibited for any person—

(1) to provide, attempt to provide, or offer to provide any
kickback;

(2) to solicit, accept, or attempt to accept any kickback; or
(3) to include, directly or indirectly, the amount of any
kickback prohibited by clause (1) or (2) in the contract
price charged by a subcontractor to a prime contractor or a
higher tier subcontractor or in the contract price charged by
a pnme contractor to the United States.

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 11 of 28

c. Truth in Negotiations Act. TINA, 10 U.S.C. §2036a and 41 U.S.C. §254b,
provides, among other things, that:

(2) A person required, as an offeror, contractor, or subcontractor,
to submit cost or pricing data under paragraph (1)... shall be
required to certify that, to the best of the person’s knowledge and
belief, the cost or pricing data submitted are accurate, complete
and current.

d. Organizational Conflicts of Interest. 48 C.F.R. 9.505, provides, among other
things, that:

The general rules in 9.505-1 through 9.505-4 prescribe limitations
on contracting as the means of avoiding, neutralizing, or mitigating
organizational conflicts of interest that might otherwise exist in the
stated situations ... Each individual contracting situation should
be examined on the basis of its particular facts and the nature of
the proposed contract. The exercise of common sense, good
judgment, and sound discretion is required in both the decision on
whether a significant potential conflict exists and, if it does, the
development of an appropriate means for resolving it. The two
underlying principles are—

(a) Preventing the existence of conflicting roles that might bias a
contractor’s judgment; and

(>) Preventing unfair competitive advantage. In addition to the
other situations described in this subpart, an unfair competitive
advantage exists where a contractor competing for award of any
Federal contract possesses—

(1) Proprietary information that was obtained from a Government
official without proper authorization; or

2) Source selection information (as defined in 2.101) that is
relevant to the contract but is not available to all competitors, and
such information would assist that contractor in obtaining the
contract.

Accenture’s Alliance Benefits

10

 
' Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 12 of 28

SI Compensation

20, During the Relevant Time Period, in violation of its contracts with the United
States Government, Accenture was paid cash and other things of value by its Alliance Partners in
return for Accenture’s favorable treatment and influence in the Government procurement
process. These payments solicited by, and provided to, Accenture were a violation of federal
procurement law and related regulations and contract clauses in Accenture’s Government
contracts, including the AKA.

21. Pursuant to the terms of Accenture’s Alliance Agreements, Accenture was
entitled to these payments of cash and other compensation in return for mfluencing the award of
a direct prime contract by the Government to Accenture’s Alliance Partners. Accenture referred
internally to this compensation as Systems Integrator Compensation or “SI Compensation.”
These payments of SI Compensation sought and received by Accenture were Kickbacks, and
were in violation of federal procurement and related regulations and contract clauses in
Accenture’s Government contracts.

22. For example, Accenture received the following SI Compensation payments from
IBM as a result of Accenture’s favorable treatment and influence for IBM on Government
Contracts:

2001 $68,524 Department Of Education Accenture Number DED-001-
91, .

2003 $3,480 FDIC Accenture Number FED-262-90,
2004 $101,571 Department Of Army Accenture No. AMC-011-990.

2005 $452,843 Air Force AAFES Contract.

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Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 13 of 28

2006 $109,000 Air Force AAFES Contract.
23. Accenture received the following SI Compensation payments from NCR as a
result of Accenture’s favorable treatment and influence on Government Contracts:
2004 $200,000 Defense Commissary Accenture No. DCA 200-03-A-5003.
24. —_ Accenture received the following 51 Compensation payments from HP as a result
of Accenture’s favorable treatment and influence on Government Contracts:

2002 $133,460 Defense Logistics Agency Accenture No. DLA-005-90.

2003 $9,244 Department of State Accenture No. UNZ-261-91.
$45,855 internal Revenue Service Accenture No. IRS-004-94.
$2,166 U.S. Postal Service USP-025-90.

2004 $85,894 Defense Intelligence Agency Accenture No. DOD-017-94.

$243,956 Defense Logistics Agency Accenture No. DLA-005-90.
$6,641 Department of Army Accenture No. AMC-01 1-90.
2005 $220,223 Defense Logistics Agency Accenture No. DLA-005-91.
25. Accenture received the following SI Compensation payments from Informatica as
a result of Accenture’s favorable treatment and influence on Government Contracts:
2004 $7,506 Defense Logistics Agency Accenture No. DLA-005-91,
26. Accenture received the following SI Compensation payments from PeopleSoft as
a result of Accenture’s favorable treatment and influence on Government Contracts:
2001 $24,549 Army Cecom Accenture No, AMC-011-90
$35,797 Federal Election Commission FEC-01 9-90,

$164,555 HUD Accenture No. UNZ-727-90.

12

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 14 of 28

$220,631 Smithsonian Institute SMIJ-259-90.

$15,068 Federal Energy Regulatory Commission, Accenture No.
ERCO00290.,
$58,092 Supreme Court of the United States SPC-019-90,
2002 $26,620 Department of State Accenture No, UNZ-261-91.
$67,818 Department of Interior DEP-009-90.

2003 $156,617 FDIC Accenture No. FED-262-90.
$357,761 National Security Agency Accenture No. UNI-219-90.
$35,062 TSA Accenture No. FAA-001-93.
2004 $9,575 DLA Accenture No. DLA-005-91.
27, Accenture received the following S$] Compensation payments from Mercury

Interactive as a result of Accenture’s favorable treatment and influence on Government

Contracts:
2004 $14,867 Defense Intelligence Agency Accenture No. DOD-017-94.
$48,284 Army Accenture No. AMC-0111-90.
28. Accenture received the following SI Compensation payments from Sun as a result

of Accenture’s favorable treatment and influence on Government Contracts:
2001 $27,164 USPS Accenture No. USP-025-93.
2002 $48,495 Department of Treasury Accenture No, IRS-004-90.
29. Accenture received the following SI Compensation payments from EMC as a
result of Accenture’s favorable treatment and influence on Government Contracts:
2002 $119,364 Department of Treasury Accenture No. IRS-004-90.

2005 $30,000 Ait Force AAFES Contract

13

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 15 of 28

2004 $86,255 DLA Accenture No. DLA-005-91,

30. Accenture received the following SI Compensation payments from Quest as a

result of Accenture’s favorable treatment and influence on Government Contracts:
2004 $14,748 Anny Accenture No. AMC-01 1-90.

31. Accenture did not disclose the $1 Compensation terms of its Alliance Agreements
and the payment of SI Compensation to its Government customers.

32, Between 1998 and 2006, Accenture earned more than $4 million in cash SI
Compensation on Government Contracts.

33, Accenture did not credit any income eamed from SI Compensation to its
Government contracts.
Equity Compensation

34. In addition to cash payments like those referenced above, another example of
Accenture’s SI Compensation involves Accenture receiving equity value in its Alliance Partners
tied to referrals, recommendations and/or use of such Alliance Partners on Government
contracts. For example, in November 1999, SeeBeyond “incentivized” strategic Alliance Partner
Andersen Consulting LLP (Accenture’s predecessor in interest) “by issuing warrants” to
purchase shares of SeeBeyond common stock, with the “vesting of such warrants conditioned
upon the achievement of agreed upon milestones relating to the generation of qualified customer
introductions or revenues for” SeeBeyond. By March 2001, SeeBeyond paid such “incentive”
stock warrants to Accenture in return for influence and favorable treatment on contracts with the
Defense Logistics Agency and the Department of Energy.

35. Accenture knew that its receipt of SI Compensation was in return for Accenture’s

14

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 16 of 28

influence and favorable treatment on Government contracts.

36. The Government contracts under which Accenture was acting when it exerted its
influence, and provided favorable treatment to its Alliance Partners, were all governed by the
AKA. Similarly, the Government contracts which Accenture’s Alliance Partners would receive
as a result of Accenture’s influence and favorable treatment were all governed by the AKA,

37. | The AKA prohibits the $1 Compensation solicited by and provided to Accenture
by its Alliance Partners and further requires immediate disclosure by Accenture of any
reasonable knowledge of an attempt to make such payment.

Rebates and Marketing Fees

38. In addition to the receipt of SI Compensation, Accenture utilized its Alliance
Agreements to earn rebates and marketing assistance fees. Accenture eared these fees, in part,
by subcontracting with its Alliance Partners and reselling its Alliance Partners’ hardware,
software and services to the Government. In return for these sales, Accenture’s Alliance
Partners would pay Accenture a percentage of the sale as a rebate or marketing assistance fee
(MAF).

39. Accenture had rebate/MAF provisions in its Alliance Agreements with HP and
Sun.

40, Pursuant to many FAR provisions, such credits and rebates provided to Accenture
by its Alliance Partners are the property of the Goverment, and must be disclosed to and
provided to the Government. 48 C.F.R. § 31.201-5, §52.216-7 (cost type contracts), §52-216-16
(fixed price-incentive contracts), §52-232-7 (the materials portion of time and materials

contracts). Further, Accenture is liable for the amount of the rebate even if it does not collect it

15

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 17 of 28

due to its own fault or neglect.

41. Accenture personnel knew about Accenture’s obligations with respect to credits,
discounts and rebates. Nevertheless, Accenture chose to knowingly violated those provisions
and failed to disclose the rebates that it earned on Government contracts, and failed to turn them
over to its Government clients.

42. As an example of Accenture’s receipt of rebates, Accenture earned a $32,335
rebate from HP in July 2002 in connection with work performed for the TSA on Accenture
contract task DTA59-02-F-10015. Accenture personnel discussed at that time the fact that
Accenture needed to disclose and credit the rebate to the TSA. Nevertheless, Accenture
contracting personnel expressed concern about such a disclosure because “it may open questions
with regards to previous engagements and the hardware purchases done in the past.” As a result,
Accenture did not disclose and credit these rebates to the Government.

43. Accenture also earned Sun Fund MAF from Sun. In part because of its purchase
of Sun products and resale to the Government, Accenture earned more than $2,000,000 in Sun
MAF between 2003 and 2005. Accenture did not credit any MAF to it Government clients.
Resale Revenue

44, —_In addition to the receipt of SI Compensation and rebates/MAF, Accenture
improperly used its Alliance Agreements to obtain other prohibited payments and benefits from
its Alliance Partners.

45. For example, Accenture negotiated with its Alliance Partners for steep, undislosed
discounts on hardware, software, services and maintenance and then recommended and sold

these products to its Government customers at higher prices and thereby knowingly and

16

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 18 of 28

improperly generated significant “resale revenue” or profit.

46. Accenture earned resale revenue pursuant to discounts obtained from many of the
same Alliance Agreements from which it received SI Compensation.

47, Accenture had a policy that provided for it to “shape” transactions with the
Government to provide for resale revenue where SI] Compensation was deemed unavailable.

48. Accenture’s Alliance Agreement personnel internally SI Compensation its resale
revenue in the same manner as it tracked SI Compensation.

49, Accenture personnel were instructed to constantly look for ways to structure
Government contract transactions so as to provide for greater opportunities to maximize resale
revenue Often at the direct expense of its Government clients. None of these improper practices
were disclosed to Accenture’s Government clients.

50, Accenture did not disclose the terms of its Alliance Agreements and the
provisions for resale revenue to its Government clients.

31. During the period 2000 through 2006, Accenture utilized its Alliance Agreements
with Technology Vendors including: SAP, Manugistics, GTSI, HP, Mercury Interactive,
Northrop Grumman, Oracle, SeeBeyond, Computer Associates, CGI-AMS, Tech Data
Corporation, E-Plus, and CDW to generate approximately $16,865,314 in unallowable resale
revenue under US Department of Defense, Defense Logistics Agency Contract number GS-35-F-
4692G, Delivery Orders SP0103-00-F-A032; SP0103-00-F-A095; and SP0103-00-F-A027,

52. During the period 2003 through 2004, Accenture utilized its Alliance Agreements
with Technology Vendors including: Manugistics, Webmethod, Vastera, and Yantra to generate

approximately $1,221,525 in unallowable resale revenue under US Army Military Traffic

17

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 19 of 28

Management Command Contract number DAMTO0-03-C-0033,

53. During the period 2005 through 2006, Accenture utilized its AlHance Agreements
with Technology Vendors including: Sun, IBM, Ingram Micro, Vignette, ACSIS, Dell Marketing
Corporation, World Wide Technology, SAS, Mercury Interactive, Tech Data Corporation, and
CDW to generate approximately $676,964 in unallowable resale revenue under US Department
of Homeland Security Contract number HISSCHQ-04-D-0096.

54, During the period 2001 through 2006, Accenture utilized its Alliance Agreements
with Technology Vendors including NCR to generate approximately $448,653 in unallowable
resale revenue under US Air Force Contract number FA8770-01-C-0020.

55. During the period 2001 through 2006, Accenture utilized its Alliance Agreements
with Technology Vendors including: Sun, HP, Oracle, Peoplesoft, Computer Associates,
Mercury Interactive, Informatica, Dell, Ingram Micro, Tech Data Corporation and Hyperion to
generate approximately $336,489 in unallowable resale revenue under a US Internal Revenue
Service Contract.

56. During the period 2003 through 2006, Accenture utilized its Alliance Agreements
with Technology Vendors including: SAP, Siebel Systems, HP, Mercury Interactive, GTSI, Dell,
EMC, SBC Datacom, Micro Warehouse, Ingram Micro and CDW to generate approximately
$336,489 in unallowable resale revenue under a US Internal Revenue Service Contract.

57. During the period 2001 through 2003, Accenture utilized its Alliance
Agreements with Technology Vendors including: HP, Dell, Ingram Micro and Intellithought to
generate approximately $336,489 in unallowable resale revenue under US Department of Health

and Human Services Contract number GS-35F-4692-G, Task Order 03L81-2043-01-D.

18

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 20 of 28

58. During the year 2006, Accenture utilized its Aliance Agreements with
Technology Vendors including: Government Acquisition, Inc, Intevoice and Presidio
Corporation to generate approximately $212,616 in unallowable resale revenue under a US
Internal Revenue Service Contract.

59. During the period 2003 through 2006, Accenture utilized its Alliance Agreements
with Technology Vendors including: Mercury, Verity and Togethersoft to generate
approximately $23,166 mm unallowable resale revenue under US Internal Revenue Service
Contract number TIRNO-00-D-00009.

60. In the period 2003 through 2006, Accenture utilized its Alliance Agreements
with Technology Vendors including: Oracle, Microstrategy, Autonomy and Jamcracker to earn
more than $2.5 million of undisclosed and unallowable resale revenue on a contract with the
Department of Education. Accenture expressly and falsely promised the Department of
Education contracting officer that it would pass on any margin earned from rebates or discounts
extended by its subcontractor vendors.

61. Between 1998 and 2006, Accenture created more than $26 million in resale
revenue on its Government contracts as a result of its Alliance Agreements.

62. | Accenture’s alliance activities and receipt of SI Compensation, rebates/MAF and
resale revenue violates the False Claims Act in multiple ways.

63. The cash benefits, discounts, equity warrants and other things of value that
Alliance Partners provided to Accenture pursuant to their Alliance Agreements are kickbacks in
violation of the Anti-Kickback Act, 41 U.S.C. §53, 48 C.F.R. 3.502-2 and 48 C.F.R. 52.203.

64. On numerous occasions, Accenture had reasonable grounds to believe that

19

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 21 of 28

violations of the Anti-Kickback Act may have occurred with respect to its Alliance Benefits, and
yet failed to promptly report the possible violations in writing to the Inspector General of the
applicable agency or other authorized person. These failures constituted further violations of the
Anti-Kickback Act, 41 U.S.C. § 57(c)(1).

65. Accenture violated the False Claims Act by expressly or impliediy making false
statements, records or certifications in response to the Government requests for proposal that it
was in compliance and would continue to comply with the Anti-Kickback Act. Defendants
committed additional violations of the False Claims Act by presenting or causing to be presented
to the Government their claims to obtain payment in which they expressly or impliedly made
false statements, records or certifications that they had complied with the Anti-Kickback Act.

66. | Accenture’s Alliance activities violated the False Claims Act because Accenture
failed to disclose the terms of its discounts, rebates, influence fees, credits and other things of
value to its Government clients and then further failed to pass these amounts on to its
Government clients and thereby fulfill its obligation to obtain product and services at the most
advantageous price to the Government. Accenture further knowingly submitted claims to the
United States Government that did not deduct the amounts of SI Compensation, Rebates/MAF
and Resale revenue and thereby inflated its claims by these amounts in violation of the FCA.

67. Accenture also violated the False Claims Act by failing to fully disclose
organizational conflicts of interest. Accenture’s Alliances constitute organizational conflicts of
interest that should have been fully disclosed to the Government pursuant to 48 C.F.R. 9.500, et
seq., as well as the terms and conditions of Accenture’s contracts. Accenture violated the False

Claims Act by expressly or impliedly making false statements, records or certifications in

20

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 22 of 28

response to the Government request for proposals that it was in compliance and would continue
to comply with the aforementioned organizational conflict of interest regulations. Accenture
likewise violated the False Claims Act by presenting or causing to be presented to the
Government its claims to obtain payment in which it expressly or impliedly made false
statements, records or certifications that it had no organizational conflicts of interest and/or that
it had already fully disclosed all such conflicts of interest.

68. — It is alleged that the foregoing practices have resulted in the United States
Government, either directly or indirectly through its agencies or intermediaries, entering into
contracts/subcontracts under false representations and violations of law as alleged herein. These
improper practices have limited or eliminated fair competition, destroyed Accenture’s
independence, led to the United States Government purchasing the wrong products/services
and/or not receiving the most advantageous price for those products/services. These improper
practices are all in violation of the FCA.

69. It is further alleged that the United States Government, either directly or
indirectly through its agencies or intermediaries, would not have contracted with Accenture due
to conflict or other reasons and/or would have sought significant cost and/or price concessions
had it known that the contracts/subcontracts, products and/or services for which the contracts
were proposed were subject to a scheme to violate the Anti-Kickback provisions set forth at 41
U.S.C. §51 et seg., and pertinent FARs including, but not limited to, 48 C.F.R. 3.502, ef seg. and
48 C.F.R. 52.203; 48 C.F.R. § 31.201-5, §52.216-7 (cost type contracts), §52-216-16 (fixed
price-incentive contracts), §52-232-7 (the materials portion of time and materials contracts); the

provisions of TINA set forth at 10 U.S.C. § 2306a , 41 U.S.C. 245b, and 48 C.F.R. 15.400, ef

21

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 23 of 28

seg.; and organizational conflict of interest laws, including, but not limited to 48 C.F.R. 9,500 ef
seq.

70. ‘It is further alleged that the United States Government, either directly or
indirectly through its agencies or intermediaries, would not have honored Accenture’s claims for
payment, had it known that the contracts/subcontracts, products and/or services for which the
claims were made, were provided in a manner that violates the Anti-Kickback provisions set
forth at 41 U.S.C. §51 e¢ seg., and pertinent FARs including, but not limited to, 48 C.F.R. 3.502,
et seq, and 48 C.F_R. 52.203; 48 C.F.R. § 31.201-5, §52.216-7 (cost type contracts), §52-216-16
(fixed price-incentive contracts), §52-232-7 (the materials portion of time and materials
contracts); the provisions of TINA set forth at 10 U.S.C. § 2306a , 41 U.S.C. 245b, and 48
C.F.R. 15.400, et seg.; and organizational conflict of interest laws, including, but not limited to
48 C.F.R, 9.500 ef seg.

CLAIMS
COUNT I
(VIOLATIONS OF THE FALSE CLAIMS ACT)

71. Plaintiff repeats and realleges the allegations contained in Paragraphs 1 through
70 above, as if fully set forth herein.

72. Accordingly, Defendants have violated the provisions of the False Claims Act, 31
U.S.C. § 3729(a) by:

a. Knowingly presenting or causing to be presented to the United States
Government, directly or indirectly, false or fraudulent claims to be paid or

approved, directly or indirectly, by the United States Government (31

22

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 24 of 28

U.S.C. § 3729(a)(1)); and

b. Knowingly making, using, or causing to be made or used, or presenting
false records or statements and/or false certifications to obtain
contracts/subcontracts and/or the payment of false or fraudulent claims to
be paid or approved by the United States Government (31 U.S.C.
§ 3729(a)(2));

73. The United States Government, upon presentation of such claims for payment,
whether directly or indirectly, remitted payment despite the false nature of such claims.

74. Pursuant to 31 U.S.C. § 3729(a), Defendants are liable to the United States
Government for a civil penalty of not less than $5,500, and not more than $11,000 for each
violation of the FCA committed by Defendants.

75, The United States Government has further sustained damages, and will yet sustain
damages up to the date of trial in an amount yet to be determined. Pursuant to 31 U.S.C.

§ 3729(a), Defendants are liable for three times the amount of all such damages sustained by the
United States Government.

COUNT I
(VIOLATION OF THE ANTI-KICKBACK ACT)

76. | Paragraphs | through 75 of this Complaint are hereby realleged and incorporated
as though set forth in full herein,

77. This is a claim against Defendants under the Anti-Kickback Act.

78. The arrangements and activities described above in connection with Defendants’

Alliance Benefits were knowingly carried out by Defendants “for the purpose of mmproperly

23

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 25 of 28

obtaining or rewarding favorable treatment in connection with a prime contract or in connection
with a subcontract relating to a prime contract,” 41 U.S.C. §52(2), and thus constituted illegal
kickbacks in viclation of 41 U.S.C. §53, as weil as in violation of Defendants’ contracts with the
Government.

79. By reason of the conduct alleged herein, Defendants knowingly engaged in
conduct prohibited by 41 U.S.C. §53 with respect to kickbacks received from Alliance Partners
by Defendants on Government contracts and subcontracts.

80. By reason of the conduct alleged herein, Defendants knowingly caused, directly
or indirectly, the kickbacks to be included in the charges to the United States Government, in
violation of 41. U.S.C. §53(3).

81. Pursuant to section 55(a)(1)(A), the United States is entitled to recover from
Defendants double the amount of the kickbacks plus $10,000 per kickback.

82. In the alternative, pursuant to section 55(a)(2), the United States is entitled to
recover the amount of the kickbacks from Defendants.

COUNT Hl
(BREACH OF CONTRACT)

83. Paragraphs 1-82 of this Complaint are realleged and incorporated as though set
forth in full herein.

84. By reason of the actions described above, Defendants materially breached the
United States Government’s contracts by not providing the services for which it was contracted.
Defendants billed in violation of of the terms of those contracts, including specifically, the

violations of the AKA.

24

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 26 of 28

85. By reason of these breaches, the United States has been damaged.
COUNT IV
(PAYMENT BY MISTAKE)

86. The United States repeats and realleges each allegation as set forth above in
paragraphs | through 85.

87. Defendants caused the United States Government to make payments to
Defendants’ for products and services based upon the United States Government’s mistaken
belief that the requirements of its contracts and subcontracts pursuant to which Defendants were
being paid had been met and that the Defendants contracts were without violations of the AKA.
In such circumstances, the payments by the United States Government to Defendants was by
mistake and not authorized.

88. Asa result of those mistaken payments, the United States has sustained damage.

COUNT V
(UNJUST ENRICHMENT)

89. Paragraphs 1-88 are realleged and incorporated as though set forth herein.

90. By reason of the United States Government’s payments under its contracts and
subcontracts, Defendants received money to which it was not entitled and has thereby been
unjustly enriched in an undetermined amount.

PRAYER

WHEREFORE, Plaintiff, United States, prays for judgment against all Defendants as

follows:

A. On Count I, pursuant to the FCA, judgment against Defendants for triple damages

25

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 27 of 28

sustained by the United States, plus civil penalties as are allowable by law, and all
other proper relief,

B. On Count IE, pursuant to the AKA, judgement against Defendants for double the
amount of the prohibited kickbacks, plus civil penalties as are allowable by law in
the amount of $10,000 per violation, pre-judgment and post- judgment interest,
and costs, or in the alternative, pursuant to 41 U.S.C. §55(a)(2), the amount of the
prohibited kickbacks, plus pre-judgment and post- judgment interest, and costs.

Cc On Counts III-V, judgment against Defendants for the damages sustained, all
profits earned by virtue of the wrongdoing, plus pre-judgment and post- judgment
interest, and costs.

D. Such other and further relief as is just and proper.

THE UNITED STATES DEMANDS A TRIAL BY JURY AS TO ALL ISSUES SO
TRIABLE.
UNITED STATES OF AMERICA
By its attorneys,

PETER D. KEISLER
Assistant Attorney General

 

TIM GRIFFIN
United States Attorney
Eastern District of Arkansas

Wa Tap Sng

DAN STRIPLING (Bar No.474142)

26

 
Case 4:04-cv-00985-BRW Document 39 Filed 04/12/07 Page 28 of 28

Dated: April 12, 2007

27

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